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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AMENTUM ENVIRONMENT & ENERGY,
 INC.,

                          Plaintiff,
                                                    Case No. 20-2016 C
                  v.
                                                    Judge Silfen
 THE UNITED STATES OF AMERICA,

                          Defendant.


              JOINT STATUS REPORT REGARDING STATUS OF DISCOVERY

        The parties, plaintiff Amentum Environment & Energy, Inc., formerly known as URS

Energy & Construction, Inc. (“URS”), and defendant the United States of America (the

“Government”), have been conducting discovery under a scheduling order that requires them to

jointly submit a status report every 30 days updating the court on the progress of discovery. ECF

No. 50. The parties therefore respectfully submit this joint status report updating the Court on

the status of their efforts.

        Since the parties’ last status report, the parties conducted additional depositions: the

deposition of a fact witness for URS took place on February 20 & 21, 2025, depositions of fact

witnesses for the government took place on March 4, 2025, and March 6 & 7, 2025, and

depositions of third-party witnesses took place on February 25, 2025, and March 13, 2025.

Following the Court’s recent modification of the scheduling order, the parties are continuing to

work to schedule additional depositions in order to complete fact discovery.
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 Dated: March 20, 2025
